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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION

  NUVASIVE, INC.                         )
                                         )
              Plaintiff,                 )
                                         )
  v.                                     )                   Civil Case No. __________
                                         )
  CHRISTOPHER LeDUFF, GREGORY            )            INJUNCTIVE RELIEF SOUGHT
  SOUFLERIS, and ABSOLUTE MEDICAL        )
  SYSTEMS, LLC,                          )
                                         )
              Defendants.                )
  ______________________________________ )
                     COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

           For its Complaint against Defendants, Christopher LeDuff (“LeDuff”), Gregory

  Soufleris (“Soufleris”), and Absolute Medical Systems, LLC (“Absolute Medical Systems”)

  (collectively, “Defendants”), Plaintiff, NuVasive, Inc. (“NuVasive”), through its attorneys,

  alleges that:

                                      NATURE OF ACTION

           1.         LeDuff, who worked for NuVasive as a sales professional, violated and

  continues to violate a number of common law and contractual obligations he owes to

  NuVasive by without limitation, soliciting NuVasive’s customers and employees on behalf of

  a direct competitor. Soufleris and Absolute Medical Systems aided and abetted LeDuff’s

  breaches of his common law obligations to NuVasive and tortiously interfered with the

  contractual obligations he owes to NuVasive. Accordingly, NuVasive asks this Court to: (1)

  issue preliminary and permanent injunctions which require LeDuff to comply with his

  obligations not to solicit NuVasive’s employees and customers, and not to compete with




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  NuVasive within his sales territory; (2) transfer its claims for damages against LeDuff to

  binding arbitration in San Diego, California; and (3) award it damages against Soufleris and

  Absolute Medical Systems.

                                         THE PARTIES

         2.      NuVasive is a citizen of Delaware and California. It is incorporated under the

  laws of Delaware, and maintains its principal place of business in San Diego, California.

         3.      LeDuff is a citizen of Florida who resides in Estero, Florida.

         4.      Soufleris is a citizen of Florida who resides in Orlando, Florida.

         5.      Absolute Medical Systems is a Florida limited liability company whose

  members are Soufleris and Elmalem Consulting, LLC.             Upon information and belief,

  Elmalem Consulting, LLC’s sole member is Dan Elmalem who resides in Orlando, Florida.

  As such, Absolute Medical Systems is a citizen of Florida.

         6.      The relationship between NuVasive and LeDuff is governed by their July 3,

  2013, Proprietary Information, Inventions Assignment and Restrictive Covenant Agreement

  (the “PIIA”). NuVasive attaches a copy of the PIIA as Exhibit A.

                    JURISDICTION, VENUE, AND GOVERNING LAW

         7.      This Court has original jurisdiction of this case under 28 U.S.C. § 1332

  because this is a civil action between citizens of different states in which the matter in

  controversy exceeds the sum or value of $75,000, exclusive of interest and costs.

         8.      Venue for NuVasive’s request for equitable relief and damages is proper in

  the Middle District of Florida pursuant to 28 U.S.C. § 1391 as: (a) each Defendant resides in




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  this District; and (b) a substantial part of the events or omissions giving rise to the claims

  occurred in this District.

          9.      Pursuant to Section XVI of the PIIA, Florida law governs NuVasive’s claims

  against LeDuff as Florida is the state in which LeDuff last resided while working for

  NuVasive.

          10.     Section XIII of the PIIA requires NuVasive and LeDuff to submit all disputes

  to binding arbitration in San Diego, California, other than requests for injunctive relief which

  may proceed pending arbitration.

                       ALLEGATIONS RELATING TO ALL COUNTS

  A.      NuVasive’s Business.

          11.     NuVasive is an innovative, market-leading, medical device company focused

  on the design, development, and marketing of products for the surgical treatment of spine

  disorders.

          12.     NuVasive markets its surgical products through its exclusive sales force which

  consists of directly-employed personnel and exclusive sales agents.          NuVasive invests

  substantial funds into providing this sales force with extraordinary, specialized,

  comprehensive, and industry-leading training. This training supplies NuVasive’s sales force

  with a deep understanding of NuVasive’s products, methodology, trade secrets, and other

  valuable confidential or proprietary information.

          13.     NuVasive invests significant time, money, and resources into its sales

  personnel so that they are able to favorably represent the company and create goodwill with

  potential and existing NuVasive customers. This goodwill, arising from the substantial




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  customer relationships developed between NuVasive’s sales personnel and its customers,

  belongs to NuVasive as it is the product of NuVasive’s significant investment.

  B.     LeDuff’s Contractual Obligations to NuVasive.

         14.     LeDuff began selling NuVasive’s products (through an independent

  distributor) in January 2009. On or about February 14, 2013, he became employed by

  NuVasive.

         15.     Like all of NuVasive sales professionals, LeDuff received NuVasive’s

  extraordinary, industry-leading training, had access to and knowledge of NuVasive’s trade

  secrets and other proprietary information, and is the face of NuVasive to customers within its

  sales territory. Accordingly, to protect its legitimate business interests, NuVasive required

  LeDuff to agree to certain reasonable confidentiality, non-competition, and non-solicitation

  obligations as a condition of NuVasive allowing him to sell its products. These provisions

  are found in sections II, VI, and VII.

         16.     LeDuff’s obligation to protect NuVasive’s confidential information is found

  in Section II of the PIIA. It provides:

         I represent and warrant that from the time of my first contact or
         communication with the Company, I have held in strict confidence all
         Proprietary Information and have not disclosed any Proprietary Information to
         anyone outside of the Company, or used, copied, published, or summarized
         any Proprietary Information except to the extent necessary to carry out my
         responsibilities as an employee or agent of the Company.

         At all times, both during my engagement by the Company and after its
         termination, I will (a) keep in confidence and trust and will not disclose any
         Proprietary Information except to other Company employees, agents and
         representatives who need to know, or to third parties who are bound by
         written confidentiality agreements to the extent necessary to carry out my
         responsibilities as an employee or agent of the Company and in a manner




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          consistent with any such third party confidentiality agreements, and (b) use
          Proprietary Information only for the benefit of the Company.

  Ex. A at § II.

          17.      LeDuff’s contractual obligation not to solicit NuVasive’s employees is found

  in Section VI of the PIIA. It provides:

          I understand that during my engagement with the Company, I will have access
          to and obtain knowledge of the Company’s Proprietary Information (including
          as defined herein), and that the Company will be irreparably harmed if I were
          to use that Proprietary Information - whether directly or indirectly – to the
          detriment of the Company, and its actual or potential business and/or human
          resources. Therefore, I agree that during the term of my engagement and for
          one (1) year thereafter, I will not induce or influence, or seek to induce or
          influence, any person who is employed or engaged by the Company (as an
          agent, employee, independent contractor, or in any other capacity), or any
          successor thereto, with the purpose of obtaining such person as an employee
          or independent contractor for a business competitive with the Company, or
          causing such person to terminate his or her employment, agency or
          relationship with the Company, or any successor thereto.

  Ex. A at § VI.

          18.      LeDuff’s obligation not to compete with NuVasive is found in Section VII of

  the PIIA. See Ex. A at § VII. In essence, it precludes LeDuff from, during his relationship

  with NuVasive and for one year after that relationship terminates, working with the

  Customers (as defined by the PIIA) within his NuVasive sales territory or for whom he

  provided services during the last year of his NuVasive relationship, on behalf of a

  Conflicting Organization (as defined by the PIIA).

          19.      The restrictive covenant described in the preceding paragraph is reasonable

  because: (a) its temporal restrictions are limited to the term of LeDuff’s relationship with

  NuVasive plus the year after that term concludes; and (b) its geographic restriction is limited

  to LeDuff’s NuVasive sales territory.




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  C.      Soufleris and Absolute Medical Systems.

          20.      Prior to forming Absolute Medical Systems, Soufleris represented NuVasive’s

  products in the Central Florida region via Absolute Medical, LLC (“Absolute Medical”),

  which is a party to an Exclusive Sales Representative Agreement with NuVasive.

          21.      Soufleris formed Absolute Medical Systems on November 30, 2017, in an

  attempt to avoid the contractual obligations he owes to NuVasive via Absolute Medical. 1

          22.      Absolute Medical Systems now represents and distributes products designed

  and manufactured by NuVasive’s direct competitor, Alphatec Spine, Inc. (“Alphatec”)

  throughout the State of Florida and the Southern portion of Georgia.

          23.      Alphatec is a “Conflicting Organization” as defined by Section VII of

  LeDuff’s PIIA.

  D.      LeDuff’s Breaches of his Common Law and Contractual Obligations.

          24.      In the summer of 2019, LeDuff began to express dissatisfaction with

  NuVasive to Joseph Farrell (“Farrell”), a NuVasive sales professional charged with helping

  LeDuff manage his NuVasive sales territory. During this time, LeDuff frequently mentioned

  that Soufleris was recruiting him to join Absolute Medical Systems to represent Alphatec’s

  competitive products.

          25.      As a former NuVasive sales professional, Soufleris was well aware of the

  existence of LeDuff’s PIIA and that LeDuff owes NuVasive non-competition and non-

  solicitation obligations.


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   Soufleris’, Absolute Medical Systems’, and Absolute Medical’s actions are the subject of NuVasive’s causes
  of action in NuVasive, Inc. v. Absolute Medical, et al., United States District Court for the Middle District of
  Florida, Civil Action No. 6:17-cv-2206-Orl-41GJK and NuVasive’s claims in NuVasive, Inc. v. Absolute
  Medical, American Arbitration Association, No. 01-19-0002-0663.




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         26.     LeDuff met with Farrell on August 28, 2019, at LeDuff’s home. During this

  meeting, LeDuff showed Farrell certain Alphatec products that, upon information and belief,

  were given to him by Soufleris and Absolute Medical Systems. Notably, LeDuff showed

  Farrell the screws associated with Alphatec’s knock-off of NuVasive’s innovative RELINE

  fixation system. He then told Farrell that Alphatec hired the NuVasive engineers who

  created the RELINE system so that it could create a copycat version of the system.

         27.     During the August 28, 2019, meeting, LeDuff told Farrell that he intended to

  resign from NuVasive on October 15, 2019, just after receiving his quarterly bonus. He also

  presented Farrell with an “offer letter” from Absolute Medical Systems which had a personal

  note from Soufleris attached to it. Among other things, the offer letter promised to pay

  Farrell a guaranteed salary of $90,000 and indemnify him against lawsuits brought by

  NuVasive to enforce his restrictive covenants.

         28.     Upon information and belief, Absolute Medical Systems and/or Alphatec

  promised to indemnify LeDuff against lawsuits brought by NuVasive to enforce his

  restrictive covenants.

         29.     In addition to recruiting Farrell to Absolute Medical Systems/Alphatec,

  LeDuff demonstrated Alphatec’s products to multiple surgeons within his NuVasive sales

  territory including, without limitation, one surgeon in Naples, Florida, and one surgeon in

  Fort Meyers, Florida, all while still employed by NuVasive.

         30.     Upon information and belief, Soufleris and Absolute Medical Systems,

  despite knowing LeDuff was employed by NuVasive, encouraged LeDuff to solicit Farrell to




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  join LeDuff at Absolute Medical Systems and his NuVasive surgeon-customers to utilize

  Alpahtec’s competitive products.

          31.      On September 18, 2019, NuVasive terminated LeDuff’s employment, after

  which LeDuff visited with some of his former NuVasive surgeon-customers in further

  violation of his PIIA.

          32.      On September 20, 2019, LeDuff informed at least one NuVasive employee

  that he intends to compete with NuVasive within his former NuVasive sales territory and not

  honor his restrictive covenants.

          33.      On or about September 20, 2019, upon information and belief, LeDuff, or

  someone acting in concert with him, provided a hospital within his NuVasive sales territory

  with pricing for Alphatec’s products, and surgeries in which Alphatec’s products will be used

  are being scheduled even though there is no past history of Alphatec products being used in

  this hospital.

                        COUNT I – BREACH OF DUTY OF LOYALTY
                                       (LeDuff)

          34.      NuVasive incorporates the allegations contained in paragraphs 1 through 33.

          35.      LeDuff owed NuVasive a duty of loyalty throughout his NuVasive

  employment.

          36.      LeDuff breached his duty of loyalty by, without limitation, soliciting business

  from his NuVasive customers on behalf of Absolute Medical Systems/Alphatec, and

  soliciting Farrell to leave NuVasive and join him at Absolute Medical Systems/Alphatec

  while still employed by NuVasive.




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         37.     LeDuff’s breaches of his duty of loyalty harmed NuVasive and caused it to

  incur damages.

                           COUNT II – BREACH OF CONTRACT
                                        (LeDuff)

         38.     NuVasive incorporates the allegations contained in paragraphs 1 through 33.

         39.     LeDuff’s PIIA, including, without limitation, Sections II, VI, and VII, is a

  valid and enforceable contract between LeDuff and NuVasive. The restrictive covenants

  within LeDuff’s PIIA are reasonably necessary to protect NuVasive legitimate business

  interests including, without limitation: (1) NuVasive’s confidential and proprietary business

  information; (2) the substantial relationships and goodwill NuVasive possesses with its

  customers in LeDuff’s former sales territory; (3) the specialized training NuVasive provided

  to LeDuff; and (4) NuVasive’s interest in preventing its current employees from being raided

  and promoting productivity and maintaining a competent and specialized sales team.

         40.     The geographic and temporal restrictions contained in Section VII are

  reasonable.

         41.     NuVasive fully performed all of the obligations imposed on it by the PIIA.

         42.     LeDuff breached and continues to breach many of the obligations imposed on

  him by the PIIA by soliciting business from his NuVasive customers on behalf of Absolute

  Medical Systems/Alphatec, and soliciting Farrell to leave NuVasive and join him at Absolute

  Medical Systems/Alphatec.

         43.     Now that LeDuff’s tenure at NuVasive is over, it is nearly certain that he will

  continue to violate his contractual obligations. Indeed, LeDuff informed NuVasive that he

  does not intend to honor his contractual obligations and will continue to violate them.



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          44.     There is a substantial likelihood that NuVasive will prevail on the merits of

   this action as LeDuff breached and/or is breaching valid and enforceable contractual

   obligations.

          45.     LeDuff’s breaching of his PIIA has harmed NuVasive.

          46.     NuVasive will suffer additional harm if the Court does not require LeDuff to

   comply with his post-employment contractual obligations to maintain the confidentiality of

   NuVasive’s proprietary information, not solicit NuVasive’s employees, and not compete with

   NuVasive.

          47.     No legal remedy can fully compensate NuVasive for the harm LeDuff’s

   actions are causing.

          48.     The balance of equities tips in favor of issuing the requested injunction

   because it will not harm LeDuff, as LeDuff is contractually obligated to abide by the terms of

   the PIIA.

          49.     Issuing the requested injunction will benefit the public’s interest as the public

   has an interest which requires adherence to contracts and fair competition.

       COUNT III – AIDING AND ABETTING BREACH OF DUTY OF LOYALTY
                      (Soufleris and Absolute Medical Systems)

          50.     NuVasive incorporates the allegations contained in paragraphs 1 through 37.

          51.     LeDuff owed NuVasive a duty of loyalty throughout his NuVasive

   employment.

          52.     LeDuff breached his duty of loyalty by, without limitation, soliciting business

   from his NuVasive customers on behalf of Absolute Medical Systems/Alphatec, and




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   soliciting Farrell to leave NuVasive and join him at Absolute Medical Systems/Alphatec

   while still employed by NuVasive.

           53.     Soufleris and Absolute Medical Systems were aware of LeDuff’s breaches of

   his duty of loyalty to NuVasive.

           54.     Soufleris and Absolute Medical Systems substantially assisted and encouraged

   LeDuff’s wrongdoing by, without limitation: (1) providing him with Alphatec’s competitive

   products to present to Farrell and LeDuff’s NuVasive customers; (2) encouraging him to

   solicit Farrell and his NuVasive customers on Absolute Medical Systems/Alphatec’s behalf

   while still employed by NuVasive; (3) providing him with the Absolute Medical Systems job

   offer to deliver to Farrell; and (4) permitting him to work on Absolute Medical

   Systems/Alphatec’s behalf until he could resign from NuVasive after receiving his quarterly

   bonus from NuVasive.

           55.     Soufleris’ and Absolute Medical Systems’ aiding and abetting of LeDuff’s

   breaches of his duty of loyalty harmed NuVasive and caused it to incur damages.

                 COUNT IV – TORTIOUS INTERFERENCE WITH CONTRACT
                          (Soufleris and Absolute Medical Systems)

           56.     NuVasive incorporates the allegations contained in paragraphs 1 through 33

   and 39 through 46.

           57.     The PIIA is a valid and enforceable contract between LeDuff and NuVasive.

           58.     Soufleris and Absolute Medical Systems possessed actual knowledge of the

   PIIA.

           59.     Soufleris and Absolute Medical Systems intentionally and without

   justification procured LeDuff’s breach of the PIIA by, without limitation: (1) providing him



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   with Alphatec’s competitive products to present to Farrell and LeDuff’s NuVasive

   customers; (2) encouraging him to solicit Farrell and his NuVasive customers on Absolute

   Medical Systems/Alphatec’s behalf while still employed by NuVasive; (3) providing him

   with the Absolute Medical Systems job offer to deliver to Farrell; and (4) permitting him to

   work on Absolute Medical Systems/Alphatec’s behalf until he could resign from NuVasive

   after receiving his quarterly bonus from NuVasive.

           60.    Soufleris’s and Absolute Medical Systems’ tortious interference with the PIIA

   harmed NuVasive and caused it to incur damages.

                                     PRAYER FOR RELIEF

           WHEREFORE, NuVasive respectfully requests that this Court:

           A.     Issue a preliminary and final injunction which requires LeDuff, and those

   acting in concert with him, to comply with all of the contractual obligations he owes to

   NuVasive pursuant to the PIIA;

           B.     Award NuVasive the reasonable costs, including attorney’s fees, it incurs in

   obtaining the requested equitable relief;

           C.     Compel NuVasive’s claim for monetary damages against LeDuff to binding

   arbitration;

           D.     Award NuVasive monetary damages against Soufleris and Absolute Medical

   Systems; and

           E.     Grant any other further and general relief it deems just and proper.




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                                     Respectfully submitted,


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